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 1 PATRICK D. ROBBINS (CABN 152288)
   Acting United States Attorney
 2 PAMELA T. JOHANN (CABN 145558)
   Chief, Civil Division
 3 KELSEY J. HELLAND (CABN 298888)
   Assistant United States Attorney
 4 U.S. ATTORNEY’S OFFICE
   450 Golden Gate Avenue, Box 36055
 5 San Francisco, California 94102-3495
   (415) 436-7200
 6 ERIC HAMILTON
   Deputy Assistant Attorney General
 7 DIANE KELLEHER
   Branch Director
 8 CHRISTOPHER HALL
   Assistant Branch Director
 9 JAMES D. TODD, JR.
   Senior Trial Counsel
10 YURI S. FUCHS
   Trial Attorney
11 U.S. DEPARTMENT OF JUSTICE
   Civil Division, Federal Programs Branch
12 P.O. Box 883
   Washington, DC 20044
13
   Counsel for Defendants
14

15                                  UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN FRANCISCO DIVISION
17 AMERICAN FEDERATION OF            )
   GOVERNMENT EMPLOYEES, et al.      )                         Case No. 3:25-cv-1780-WHA
18                                   )
         Plaintiffs,                 )                         NOTICE FILING OF CERTAIN AGENCY
19                                   )                         DECLARATIONS AND REDACTED AGENCY
                 v.                  )                         LISTS OF EMPLOYEES
20                                   )
   UNITED STATES OFFICE OF PERSONNEL )                         Honorable William H. Alsup
21 MANAGEMENT, et al.,               )
                                     )
22      Defendants.                  )
                                     )
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     Defendants’ Notice of Filing Certain Agency Declarations and Redacted Lists of Agency Employees
     No. 3:25-cv-1780-WHA
            Case 3:25-cv-01780-WHA               Document 144          Filed 03/20/25        Page 2 of 3




 1           Please take notice that Defendants are filing redacted lists of “all probationary employees

 2 terminated on or about February 13th and 14th with an explanation as to each of what has been done to

 3 comply with this [Court’s] order.” Tr. of March 13, 2025, Hrg., at 53:13-16, 20-22, ECF No. 120.

 4 Defendants are redacting the personal identifying information (“PII”) of third-party federal employees

 5 that should remain confidential from the following information they are submitting:
       1. Ex. 1: U.S. Department of Agriculture’s List of Employees
 6
       2. Ex. 2: U.S. Department of Defense’s List of Employees
 7
       3. Ex. 3: U.S. Department of Energy’s List of Employees
 8
       4. Ex. 4: U.S. Department of the Interior’s List of Employees
 9
       5. Ex. 5: U.S. Department of the Treasury’s List of Employees
10
       6. Ex. 6: U.S. Department of Veterans Affairs’ List of Employees
11
           Because the agency lists of employees of the U.S. Department of Agriculture and the U.S.
12
   Department of Defense Defendants do not contain information showing what has been done to comply
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   with the Court’s notice requirements for each employee, those agencies are filing declarations from
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   agency officials that provide that explanation. See Ex. 7-8
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 1 DATED: March 20, 2025                               Respectfully submitted,

 2                                                     PATRICK D. ROBBINS (CABN 152288)
                                                       Acting United States Attorney
 3                                                     PAMELA T. JOHANN (CABN 145558)
                                                       Chief, Civil Division
 4                                                     KELSEY J. HELLAND (CABN 298888)
                                                       Assistant United States Attorney
 5                                                     U.S. ATTORNEY’S OFFICE
                                                       450 Golden Gate Avenue, Box 36055
                                                       San Francisco, California 94102-3495
 6
                                                       ERIC HAMILTON
 7                                                     Deputy Assistant Attorney General
 8                                                     DIANE KELLEHER
                                                       Branch Director
 9                                                     CHRISTOPHER HALL
                                                       Assistant Branch Director
10                                                     JAMES D. TODD, JR.
                                                       Senior Trial Counsel
11
                                                       s/ Yuri S. Fuchs
12                                                     YURI S. FUCHS
                                                       Trial Attorney
13                                                     U.S. DEPARTMENT OF JUSTICE
                                                       Civil Division, Federal Programs Branch
14                                                     P.O. Box 883
                                                       Washington, DC 20044
15                                                     Counsel for Defendants
16

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